                      NO. 07-11-00074-CR; 07-11-00075-CR
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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JANUARY 5, 2012
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                        JOSE ANGEL MARTINEZ, APPELLANT
                                       
                                      v.
                                       
                         THE STATE OF TEXAS, APPELLEE 
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           FROM THE CRIMINAL DISTRICT COURT NO. 5 OF DALLAS COUNTY;
                                       
        NOS. F98-29599-L, F01-32449-K; HONORABLE CARTER THOMPSON, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
Appellant, Jose Angel Martinez, appeals his adjudication of guilty to the offense of aggravated assault and finding of guilty to the offense of aggravated sexual assault of a child.  The trial court sentenced appellant, pursuant to a plea of true to the motion to adjudicate on the aggravated assault and plea of guilty to the indictment on the aggravated sexual assault of a child, to a term of confinement of 18 years in the Institutional Division of the Texas Department of Criminal Justice in each of case, with all confinement to be served concurrently.  We will affirm the judgment of the trial court in each case.
Appellants attorney has filed an Anders brief and a motion to withdraw.  Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967).  In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated.  Id. at 744-45.  In compliance with High v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial courts judgment.  Additionally, counsel has certified that he has provided appellant a copy of the Anders brief and motion to withdraw and appropriately advised appellant of his right to file a pro se response in this matter.  Stafford v. State, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991).  The court has also advised appellant of his right to file a pro se response.  Appellant has not filed a response.  By his Anders brief, counsel reviewed all grounds that could possibly support an appeal, but concludes the appeal is frivolous.  We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal.  See Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Bledsoe v. State, 178 S.W.3d 824 (Tex.Crim.App. 2005).  We have found no such arguable grounds and agree with counsel that the appeal is frivolous.
Accordingly, counsels motion to withdraw is hereby granted and the trial courts judgment is affirmed.

								Mackey K. Hancock
                                                               Justice
Do not publish.


